         Case 1:16-cv-00902-SCJ Document 86 Filed 01/19/18 Page 1 of 4



                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

JUAN PEREZ,

   Plaintiff,

   v.                                        CIVIL ACTION FILE

COBB COUNTY and THOMAS                       NO. 1:16-cv-00902-SCJ
BASTIS, in his individual and
official capacities,

   Defendants.


                 SECOND AMENDED NOTICE BY DEFENDANT
                BASTIS OF DEPOSITION OF PLAINTIFF PEREZ

        Please take notice that, under Fed. R. Civ. P. 26, 30, 32, Defendant Bastis

will take an oral deposition as follows:

        NAME                        PLACE                   DATE AND TIME
Juan Perez                KEN HODGES LAW LLC             10:00 a.m., Tuesday,
                          2719 Buford Highway, N.E.      January 30, 2018
                          Atlanta, Georgia 30324

A certified court reporter will be present to take down the testimony by

stenographic means. The deposition will also be recorded by audio and video

means.




                                           -1-
        Case 1:16-cv-00902-SCJ Document 86 Filed 01/19/18 Page 2 of 4



                                    Respectfully Submitted,


                                    s/ George M. Weaver
                                    George M. Weaver            743150
HOLLBERG & WEAVER, LLP
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Atlanta, Georgia 30305
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gweaver@hw-law.com

                                    Deborah L. Dance            203765
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                                    Attorneys for Defendants




                                     -2-
         Case 1:16-cv-00902-SCJ Document 86 Filed 01/19/18 Page 3 of 4



                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
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JUAN PEREZ,

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   v.                                       CIVIL ACTION FILE

COBB COUNTY and THOMAS                      NO. 1:16-cv-00902-SCJ
BASTIS, in his individual and
official capacities,

   Defendants.


                          CERTIFICATE OF SERVICE

        I hereby certify that I have this day electronically filed the foregoing

NOTICE BY DEFENDANT BASTIS OF DEPOSITION OF PLAINTIFF PEREZ

with the Clerk of Court using the CM/ECF system which will automatically send

email notification of such filing to the following attorneys of record:

                      Kenneth B. Hodges III, Esq.
                      Andre T. Tennille III, Esq.
                      KEN HODGES LAW LLC
                      2719 Buford Highway, N.E.
                      Atlanta, Georgia 30324

                      H. Maddox Kilgore, Esq.
                      Carlos J. Rodriguez, Esq.
                      KILGORE & RODRIGUEZ LLC
                      36 Ayers Avenue
                      Marietta, Georgia 30060

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      Case 1:16-cv-00902-SCJ Document 86 Filed 01/19/18 Page 4 of 4



    This the 19th day of January, 2018.


                                    s/George M. Weaver
                                    George M. Weaver        743150
                                    Attorney for Defendants
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